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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

NKIDEJA AGBA, as Mother and Next Friend of                      )
JOSIAH COLE, a minor,                                           )
                                                                )
        Plaintiff,                                              )
                                                                )       No. 1:15-cv-7082
                vs.                                             )
                                                                )       JURY DEMAND
UNITED STATES OF AMERICA                                        )
                                                                )
        Defendant.                                              )

                                             COMPLAINT

        NOW COMES the Plaintiff, NJIDEKA AGBA, as Mother and Next Friend of JOSIAH

COLE, a minor, by and through her attorneys, KRALOVEC, JAMBOIS & SCHWARTZ, and

complaining of the Defendant, THE UNITED STATES OF AMERICA (“USA”), states the

following:

                                   JURISDICTION AND VENUE

        1.      Plaintiff, NJIDEKA AGBA, as Mother and Next Friend of JOSIAH COLE, a

minor, is a citizen and resident of the State of Illinois.

        2.      Plaintiff is seeking relief under the Federal Tort Claims Act, 28 U.S.C. § 2671 et seq.

for money damages as compensation for personal injuries that were caused by the negligent acts and

omissions of employees of the United States Government while acting within the scope of their

offices and employment, under circumstances where the United States, if a private person, would be

liable to the Plaintiff in accordance with the laws of the State of Illinois.

        3.      This Court has original jurisdiction of the action pursuant to 28 U.S.C. § 1331 and

§1346(b).
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       4.      Venue of this action in the United States District Court for the Northern District of

Illinois is proper 28 U.S.C. § 1391(b) because all, or a substantial part of the acts and omissions

forming the basis of this claim occurred within the Northern District of Illinois.

       5.      Plaintiff has fully complied with the provisions of the Federal Tort Claims Act

pursuant to 28 U.S.C. § 2671 et seq., as Plaintiff’s claim was filed in the Office of General Counsel

on or around January 15, 2015, and as of the filing of this Complaint, the Plaintiff has not received a

response from the Office of General Counsel regarding the administrative remedies available for the

tort claim of Njideka Agba, as Mother and Next Friend of Josiah Cole, a minor. Therefore, Plaintiff

has exhausted administrative remedies pursuant to 28 U.S.C. § 2671 et seq.

                                   FACTUAL ALLEGATIONS

       6.      That the minor Plaintiff’s date of birth is March 29, 2012.

       7.      That on, prior, and subsequent to August 14, 2013, and at all times relevant hereto,

the Defendant, USA, owned, operated and maintained FAMILY CHRISTIAN HEALTH

CENTER, a healthcare facility offering treatment to the public and to the minor Plaintiff, JOSIAH

COLE, by and through its agents, servants and/or employees, whether actual or apparent, including

but not limited to SHELLY DIXON, M.D., VELISCIA HODGES, APN, ZORINA THOMAS,

PA., and STEPHEN JOHNSON, M.D., at its facility located in the City of Harvey, County of

Cook, and State of Illinois.

       8.      That on, prior, and subsequent to August 14, 2013, the Defendant USA, employed

and held out its doctors and other healthcare professionals, as its agents, servants and/or employees,

whether actual or apparent, including but not limited to, SHELLY DIXON, M.D., VELISCIA

HODGES, APN, ZORINA THOMAS, PA., and STEPHEN JOHNSON, M.D., at its facility




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located in the County of Cook, and State of Illinois, offering general medical services to the public

and to the minor Plaintiff, JOSIAH COLE.

       9.      That on, prior, and subsequent to August 14, 2013, and at all times relevant hereto,

the Defendant, USA, by and through its agents, servants, and/or employees, whether actual or

apparent, including, but not limited to, SHELLY DIXON, M.D., VELISCIA HODGES, APN,

ZORINA THOMAS, PA., and STEPHEN JOHNSON, M.D., accepted the minor Plaintiff

JOSIAH COLE, as its patient and under took to diagnose and treat the condition from which he

suffered.

                                              COUNT I

       1-9.    That the Plaintiff, NJIDEKA AGBA, as Mother and Next Friend of JOSIAH

COLE, a minor hereby re-allege and incorporate paragraphs 1 through 9 of the Complaint as

though fully set forth herein.

       10.     That on, prior, and subsequent to August 14, 2013, there existed a duty on the part of

the Defendant, USA, by and through its agents, servants and/or employees, whether actual or

apparent, including, but not limited to, SHELLY DIXON, M.D., VELISCIA HODGES, APN,

ZORINA THOMAS, PA., and STEPHEN JOHNSON, M.D., to possess and apply the skill and

knowledge of a reasonably well qualified health care staff and to treat the minor Plaintiff JOSIAH

COLE, in a manner which equaled or exceeded the applicable standard of care.

       11.     That in disregarding its duty, the Defendant, USA, by and through its agents,

servants and/or employees, whether actual or apparent, including, but not limited to, SHELLY

DIXON, M.D., VELISCIA HODGES, APN, ZORINA THOMAS, PA., and                                STEPHEN

JOHNSON, M.D., was then and there guilty of one or more of the following careless and negligent

acts and/or omissions:




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               (a)     Failed to instruct and advise of daily Vitamin D supplementation for the
                       minor Plaintiff; and

               (b)     Failed to ensure the health and safety of patient under its direct care;


       12.     That as a direct and proximate result of one or more of the foregoing careless and

negligent acts and/or omissions on the part of the Defendant, USA, by and through its agents,

servants and/or employees, whether actual or apparent, including, but not limited to, SHELLY

DIXON, M.D., VELISCIA HODGES, APN, ZORINA THOMAS, PA., and STEPHEN

JOHNSON, M.D., the minor Plaintiff JOSIAH COLE, suffered severe and permanent injuries;

expended and will in the future expend great sums of money in an attempt to be cured; suffered and

will continue to suffer from disability and disfigurement; and experienced and will continue to

experience great pain and physical suffering, all of which injuries are permanent in nature.

       WHEREFORE, the Plaintiff, NJIDEKA AGBA, as Mother and Next Friend of JOSIAH

COLE, a minor prays for judgment against the Defendant, USA, in such amount in excess of this

Court’s jurisdictional requisite as will fairly and adequately compensate the Plaintiff for the injuries,

losses and damages as hereinabove alleged.



                                                       Respectfully submitted,

                                               By: _/s/ Michael S. Shinsky_____________________
                                                       ARDC#: 6275914
                                                       Attorney for Plaintiff
                                                       KRALOVEC, JAMBOIS & SCHWARTZ
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                                                       Chicago, Illinois 60601
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                                                       Fax: (312) 855-0068




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I hereby certify that on August 13, 2015, I electronically filed the foregoing with the Clerk of the
Court using the CM/ECF system.
                                                    ,

                                            By: _/s/ Michael S. Shinsky_____________________
                                                    ARDC#: 6275914
                                                    Attorney for Plaintiff
                                                    KRALOVEC, JAMBOIS & SCHWARTZ
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